                   Case 2:23-cv-00576-TL Document 48 Filed 07/14/23 Page 1 of 4




 1                                                                    The Honorable Tana Lin

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 7                                   UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF WASHINGTON
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     NEXON KOREA CORPORATION,                       Case No. 2:23-cv-00576-TL
 9   a Korean Corporation,
                                                    SUPPLEMENTAL DECLARATION OF
10                                                  TERENCE SEUNGHA PARK
                             Plaintiff,
11
              v.
12
     IRONMACE CO., LTD., a Korean
13   Corporation; JU-HYUN CHOI, individually;
     and TERENCE SEUNGHA PARK,
14   individually,
15                           Defendants.
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                                                                   GREENBERG GLUSKER FIELDS
      SUPPLEMENTHAL DECLARATION OF TERENCE SEUNGHA                 CLAMAN & MACHTINGER LLP
      PARK No. 2:23-CV-00576-TL                                   2049 Century Park East, Suite 2600
     43223-00002/4877100.1                                          Los Angeles, California 90067
                                                                           (310) 553-3610
                   Case 2:23-cv-00576-TL Document 48 Filed 07/14/23 Page 2 of 4




 1                 SUPPLEMENTAL DECLARATION OF TERENCE SEUNGHA PARK
2             I, Terence Seungha Park, hereby declare as follows:

 3            1.       I am the Chief Executive Officer of Ironmace Co., Ltd. ("lronmace"). I am

 4   submitting this supplemental declaration in response to Nexon's Opposition to the Motion to
 5   Dismiss for Forum Non Conveniens filed by myself, Ironmace, and Ju-Hyun Choi in the above-
 6   captioned lawsuit (the "Motion"). The facts stated herein are known to me personally, and if
 7   called as a witness, 1could and would testify competently thereto.
 8            2.        In the declaration I submitted in support of the Motion, I explained that almost all
 9   of the internal team communications and other documentation relating to Dark and Darker are in
10   Korean. While it is true that common coding languages use English words, our internal team
11   notes that we used when programming Dark and Darker are almost exclusively in Korean.
12            3.        The other preparatory and planning documentation about how we made Dark and
13   Darker is also almost all in Korean. We have an internal "wiki" that goes into detail about our
14   game design process and shows that Dark and Darker was independently created. That wiki is
15   written almost exclusively in Korean.
16            4.        Ironmace has had seven playtests of Dark and Darker. The public playtests have
17   involved game servers located in Korea, Brazil, Germany, Australia, Singapore, Japan, and the
18   United States. For six of the seven, the game was available in Korea in the Korean language.
19            5.        For the most recent playtest we did in April 2023, we were unable to make the
20   game accessible in Korea, though it was available everywhere else worldwide. We had to
21   restrict access in Korea because of the way this playtest was distributed. Korea requires that
22   games be "rated" before distribution. When a game is available on Steam, a game distributor can
23   rely on Steam's rating system to implicitly satisfy that requirement prior to launch. But because
24   of Nexon's takedown notice, Dark and Darker has been removed from Steam.
25            I declare under penalty of perjury under the laws of the United States of America that the
26            foregoing is true and correct to the best of my knowledge.

                                                                               GREENBERG GLUSICER FIELDS
      SUPPLEMENTAL DECLARATION OF TERENCE SEUNGHA                              CLAMAN & MACHTINGER LLP
                                                                              2049 Century Park East, Suite 2600
      PARK - INo. 2:23 -CV-00576-TL                                             Los Angeles, California 90067
     43223-00002/4877100.1
                                                                                       (310) 553-3610
                 Case 2:23-cv-00576-TL Document 48 Filed 07/14/23 Page 3 of 4




 1            EXECUTED at Seongnam, Republic of Korea, this 14th day ofJuly, 2023

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                                               Terence Seuni, a Park
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                                                                       GREENBERG GLUSICER FIELDS
      SUPPLEMENTAL DECLARATION OF TERENCE SEUNGHA                      CLA,MAN & MACHTINGER LLP
      PARK -2 No. 2:23 -CV-00576-TL                                2049 Century Park East, Suite 2600
     43223-00002/48771001                                            Los Angeles, California 90067
                                                                            (310) 553-3610
                  Case 2:23-cv-00576-TL Document 48 Filed 07/14/23 Page 4 of 4




 1                                     CERTIFICATE OF SERVICE

 2            I hereby declare under penalty of perjury under the laws of the United States of America

 3   that on this date, the foregoing document was filed electronically with the Court and thus served

 4   simultaneously upon all counsel of record.

 5            I declare under penalty of perjury that the foregoing is true and correct.

 6            EXECUTED on July 14, 2023.

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                                                              Kristine Nicolas
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                                                                             GREENBERG GLUSKER FIELDS
      CERTIFICATE OF SERVICE                                                 CLAMAN & MACHTINGER LLP
      No. 2:23-CV-00576-TL                                                  2049 Century Park East, Suite 2600
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